                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA             §
                                     §
vs.                                  §            Case No. 1:13CR00129-2
                                     §
SERAFIN CASTILLO-CAMPOS,             §
                                     §
Defendant.                           §
                                     §

                         SENTENCING MEMORANDUM

      This is a drug case. The defendant, Serafin Castillo-Campos, was born in
Mexico and is a Mexican citizen. He is one of five brothers and sisters. He grew
up in a rural area of Mexico and began working on farms when he was 13 years
old—the age, more or less, when he dropped out of school. His primary
language is Spanish, although his (Spanish) reading and writing skills are well
below average. Like many poor Mexicans who are unable to pay their way out
of military service, he has served in the Mexican Army. He first came to the
United States when he was 19 years old, entering on a work visa to work on
North Carolina tobacco farms with his father, who had already been working
here. He has come and gone several times. He has two children—ages ten and
six—with his ex-wife, Beatrice. He supports his children financially and is in
regular contact with them. His children have submitted letters to the Court in
in support of him. Prior to his arrest, Mr. Castillo was living with his common-
law wife, Adriana Campos, in Randleman, and working as a cook at the
O’Charley’s restaurant in Charlotte. Ms. Campos, for her part, is a hotel
housekeeper. They do not have any children together.
      There are three defendants in this case. Two of the defendants—Luis
Eden Albarran “Cruz” and Tomas Lara “Cruz”—are cousins. Mr. Castillo is their
uncle by marriage, though he does not know either of those defendants well.
Several days before Mr. Castillo’s arrest, Luis Albarran showed up at Mr.
Castillo’s   door   wanting   to   borrow   his   house   to   transform   “liquid”

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methamphetamine back into “crystal” methamphetamine for distribution to his
cousin, Tomas, who had been dealing methamphetamine in the local area.
Luis, also from Mexico, has recently lived in Texas. As the Court may know,
unlike the early days of methamphetamine conspiracies—in which groups of
drug    addicts   pooled     their   efforts   and       resources    to   manufacture
methamphetamine in small rural laboratories here in the United States—
methamphetamine is now manufactured abroad, in Mexico, in large-scale labs,
then   smuggled   into     the   United   States.   To    conceal    the   already-made
methamphetamine, smugglers frequently mix “crystal” with water, then
smuggle the mixture into the United States within liquid containers such as
soda bottles, water jugs, and, as here, car washer-fluid bottles. Once here, the
liquid is boiled out, returning the substance to its “crystal” form. Thus, a
modern-day methamphetamine “cook” is much different than the “cook” of
years past; while the “cook” in years past was the leader of the conspiracy and
highly trained in the intricate process of turning cough medicine, anhydrous
ammonia, batteries, and other things into “crystal” methamphetamine, today’s
“cook,” for all intents and purposes, boils water. In this case, Luis had
smuggled a gallon of “liquid” methamphetamine from Mexico to North
Carolina—which, again, was just “crystal” methamphetamine with water added
to conceal it—and he needed a place to boil out the water. Unfortunately for
Mr. Castillo, and the reason why we’re here, Mr. Castillo permitted Luis to do
so at his house. That is the sum total of Mr. Castillo’s involvement in this case.
       Given the charges to which Mr. Castillo has already pleaded guilty, we
realize that this Court must sentence him to at least the mandatory minimum
of 120 months. That is the appropriate sentence in this case, and we ask that
such a sentence be imposed. As the case agents have confirmed, Mr. Castillo
was not a large-scale drug dealer. This case began when Tomas Lara was
caught dealing methamphetamine to a confidential informant. Following
Tomas’s arrest, he took the police to Mr. Castillo’s house where his cousin,
Luis, and Mr. Castillo were located. That was the first time that anyone—
including both the confidential informant and the police—had ever heard of Mr.
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Castillo. Granted, much has been made of some cash and a small peashooter
found in Mr. Castillo’s house. The cash ($7,452) was concealed in picture
frames; the suggestion is that hidden cash equals “large scale drug dealer.” But
there is an innocent explanation. The cash was raised to bond Ms. Campos
(Mr. Castillo’s common-law wife) out of immigration detention. She, like Mr.
Castillo, is undocumented, and she’d been arrested a couple of weeks before
and an immigration detainer was placed on her. Moreover, unlike someone
legally residing in the United States, Mr. Castillo, being undocumented,
couldn’t legally open a bank account. Thus, he had no choice but to stuff the
cash under his pillow. As for the gun, Mr. Castillo lived in a rural area of North
Carolina. In rural Mexico, you take your safety into your own hands. Even
here, it isn’t unreasonable for someone living in a rural area to have a gun for
protection. Besides, large-scale drug dealers don’t depend on .22 caliber
pistols; they use .9 millimeters or .40 calibers, or perhaps assault rifles or
shotguns. If Mr. Castillo would have had to repel an assault from drug bandits,
he’d have been overrun with his measly .22. In the end, ten years is a stiff
enough price to pay for Mr. Castillo’s conduct. We ask that no more than such
a sentence be imposed.
      Dated this 27th day of August, 2013.
                                     Respectfully Submitted,

                                     THE LAW OFFICE OF
                                     FAGERBERG & ARANA

                                     By /s/ Thomas C. Fagerberg
                                        Thomas C. Fagerberg
                                        907 Rio Grande
                                        Austin, Texas 78701
                                        T: 512-610-1090
                                        F: 512-610-1099
                                        TCSwede@gmail.com

                                     Attorney for Serafin Castillo-Campos




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                         CERTIFICATE OF SERVICE

      I certify that a true copy of the foregoing Sentencing Memorandum has
been served this date by electronically filing via the Court’s CM/ECF system,
which will automatically notify all parties of record, including Assistant U.S.
Attorney Sandra Hairston.



                                    /s/ Thomas C. Fagerberg
                                    Thomas C. Fagerberg




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